lnts wcora IS authonzoo by law {7 USC 2:131-2156). Failure to maintain this record can result in a suspension or                                 See reverse side lor             FORM APPROVED
revocation of licoose and/or imprisonment tor not mme than I year or a line of nol more !han $1 000 or both                                      additional inlmmalion            OMB NO 0579 0036
                                            U.S. DEPARTMENT OF AGRICUltuRE                                                   1. INVOICE NO.                                           2. PAGE        (
                                      ANIMAL AND PLANT HEALTH INSPECTION SERVICE


   RECORD OF ACQUISITION, DISPOSITION OR TRANSPORT                                                                                                                                    t   OF     (
          OF ANIMALS (Other Than Dogs and Cats)                                                                            r,:-;.o""ATE~O;:;,-F-;;;;DtS;:;;;PO:;;:;SI;;;TIO:;;-N-------'---~
 bi   SALE
itifSTRUCTIONS:
                                0       EXCHANGE OR TRANSFER
                    Complete applicable items 1 through 13
                                                                                           0   DONATION
                                                                Original and one copy to accompany                           4. DEALER'S LICENSE NO.
animals. When delivery is made- Items 14 through 20 must be completed. Original retained by Buyer
(Receiver) and copy one returned to Dealer (Setter or Donor). Copy two to be retained by Dealer (Seller
or Donor). Attach Continuation Sheet {APHIS FORM 702:0A) as needed.                                                                 35- 0-CIOl-/
4. SELLER OR DONOR (Name and Address, include Zip Code)

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     ~3QU.w~r~                                       wr                  5'fq<o3
                                                                            8 IDENTIFICATON OF ANIMALS BEING OEUVERED
              B.              c.                         D.                 E.                          AGE ·SEX            H.         I.
                                                                                                                                                                                 RECEIVER'S USE
                                                           INDIVIDUAL                          F.           G.
  CON-                                PREVIOUS                                                                                EST.
 TAINER              NO.                                     !DENT.,                                                                                                       J.              K.
                                      INVOICE                                    SPECIES                                     WEIGHT             REMARKS
TAG NO.,           ANI-                    NO.              TATTOOS,                                NO.        NO.            (lbs.)          (Condition, etc..)
 CRATE             MALS                                     TAG NOS.                            YOUNG         ADULT
                                       (if anyJ
OR PEN                                                    (if applicable)
   NO.



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                                                                                    DELIVERY BV COMMERCIAL CARRIER
9. ~VERY BY ("X" one)                                                        10. TRUCK LICENSE NO.                                                           11. BILL OF LADING NO.

      Buyer's Truck                              0   Dealer's Truck
                                                     (Seller or Donor)

12. NAME AND ADDRESS OF COMPANY OR FIRM                                                                      13. NAME AND ADDRESS OF mUCK DRIVER

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             =)(=l~ CZAL~                                                                                                    ~ ~.aU.n~


                                                              DELIVERY RECEIPT • TO BE COMPLETED BY BUYER OR RECEIVER
 14. ANIMALS DELIVERED WER~~ one)
                                                  IN APPARENT GOOD CONDITION               D   POOR CONDITION                0    REJECTED (Attach explanation lor rejection)
 15. TOTAL NUMBER RECEIVED                                                  16. NUMBER DEAD                                                                   17. NUMBER ALIVE

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                                      Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 1 of 66                                                                                        Ex. 4-0283
                                           ---------                                                                  1. iNVUIGt:: l'tU.
                                ANIMAL ANC PLANT HEALTH INSPECTION SERVICE


      RECORD OF AOOIJISITION, DISPOSITION OR TRANSPORT                                                                                                                            1 OF
             OF ANIMAlS (Other Than Dogs and Cats)                                                                    3.. DATE OF DISPOSffiON


     OSAlE                      0    EXCHANGE OR TRANSFER                            J::;fj' DONATION
INSTRUCTIONS:       Compiele applicable Items 1 through 13. Ortginal aocl one copy t'O accompany                        4. DEALER'S UCENSE NO.
animals. Wilen delivery is made - Items: l4 through 20 mus'l be completed. Original retained by Buyer
{Receiver) and copy one returned to Dealer (Seller or Donor). Copy two to be retained by Deale..- (Seller
or Doonr). Attach Continuatiora Sheet {APHIS FORM 7020A) as needed.




A.             .           c.                      "-
                                                                      & IDENTIRCATON OF ANIMALS BEING DEUVERED
                                                                      E.
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                                                                                                                                                                              RECEIVER'S USE
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     coN-                       PREVIOUS
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     TAINER        NO.              INVOlCE
                                                         marr.,
                                                        TA1TOOS.           SPECIES                                     WEIGHT                 REMARKS                    J_
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 OR PEN
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                                                                              DEU'IIEilY BY COMMERCIAL CARRIER
9. DELIVERY BY      rx" onft}                                          10. TRUCK LICENSE NO.                                                             11. BILL OF LADING NO.

     ~yel"'sTruck                          0   Dealer's Truck
                                               (Sellet or Donor)

12. NAME AND ADDRESS OF COMPANY' OR ARM                                                                   1l. NAME AND ADDRESS OF TRUCK DRIVER




                                                            DEU'IIERY RECEIPT· TO BE COMPLETED BY BUYER OR RECEIVER
 14. ANIMALS DEUVERED WER~X~ one}                             .
                                     .£] IN APF'AREWT GOOO CONDffiON                 D   POOR CONOITION                 0      REJECTED {Attaclt explanation for reieclion)
 15. TO'TALNUMBER RECEiv£0                                            l(L NUMBER DEAD    c)                                                               17. NUMBER ALIVE

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APH~S FORM 7020                 (!(Replaces VS FORM       18-20, which is now obsolele,         and                                                                               '       t
        (APR 93)                        APHIS Form 7020 (1D-90) whu;h may be usad.)
                                Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 2 of 66                                                                                        Ex. 4-0284
 I tus record is authorized by law (7 USC 2131-2156). Failure to mah1tain this record com result in a suspension or                                   See tnverse side lot             FORM APPROVED
revm.:ation ol license and/or imprisomnerll lm not more than ! year or a fine ol not cnore thau $1 000 ot both                                        additional inlormalion           OMB NO 0579.-(1036
                                             U.S. DEPARTMENT OF AGRICULTURE                                                  1. INVOICE NO.                                                2. PAGE
                                        ANIMAL ANO PlANT HEALTH INSPECTION SERVICE


      RECORD OF ACQUISITION, DISPOSITION OR TRANSPORT                                                                                                                                      1 OF

             OF ANIMALS (Other Than Dogs and Cats)                                                                           3. DATE OF OISPOSITtON



     OSALE                          0     EXCHANGE OR TRANSFER
iNSTRUCTIONS: Complete applicable Items 1 through 13. Original aOO one copy to- accompany
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                                                                                                                             4. DEALER'S LICENSE NO.
animals. When delivery is made- Items 14 through 20 must be completed. Original retained by Buyer
(Receiver) and copy one reiUmed lo Dealer {Seller or Donor). Copy two to be retained by Dealer (Seller
or Donor}. Attach Continuation Sheet (APHIS FORM 7020A) as needed.                        ·•     ·                                35-~-                   e;,to 4-
4. SELLER OR DONOR (Name and Address; include Zip Code}                                                           6. BUYER OR RECEIVER (Name and Address. include Zip Code)

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          We.. yau.twe_!jq, w..:r                                           541183
                                                                                                                  7. USDA LICENSE NO. (If any}

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                                                                                8 'IOENTIFICATON OF ANIMALS BEING DELIVERED
A               B.                 c.                       D.                  E.                          AGE· SEK        H.          I.
                                                                                                                                                                                      RECEIVER'S USE
                                                              INDIVIDUAl                              F.         G.
     CON·                               PREVIOUS                                                                              EST.
    TAINER           NO.                                         IDENT.,                                                                                                        J.             K.
                                        INVOlCE                                       SPECIES                                WEIGHT                 REMARKS
 TAG NO.,            ANI·                                      TATTOOS,                                             NO.
                                          NO.                                                              NO.                f/bs.)              (Condition, etc.)
  CRATE              MAJ.S               (if any)
                                                               TAG NOS.                                YOUNG       ADULT
 OR PEN                                                      (if applicable)
   NO.



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                                                                                         DELIVERY BY COMMERCIAL CARRIER
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S. DELIVERY BV ("X" one)                                                          10. TRtJCK LICENSE NO.                                                          11. BILL OF LADING NO.

    ~yet's T;ucl<.                                  0   Dealer's Truck
                                                        (Sailer or Donor}

12. NAME AND ADDRESS OF COMPANY OR FIRM                                                                            13. NAME AND ADDfiESS OF TRUCK DRiVER




                                                                 DELIVERY RECEIPT- TO BE COMPLETED BY BUYER OR RECEIVER
    14. ANIMALS DELIVERED WERE                    rr one)
                                          ~IN APPARENT GOOD CONDmQl\1                           0     POOR CONDITION          0    1:1-EJECTED (Attach explanation far rejectiofl)
    15. TOTAL NUMBER RECEIVED                                                    16. NUMBER DEAD                                                                  17. NUMBER ALIVE

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    18. BY
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                                        Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 3 of 66                                                                                      Ex. 4-0285
 This record is a.uthori7_etl by law (7 USC 2:131-2156) Fi.lilme to maintain this record cau resull ill .a 5w.;pensior; or                     See uwerse side tor                  FORM APPROVED
 revoca.lfotj of license andlor imprisonmelll tor no! more !ban I year or a line of no! moce 11\an $1 OOU or both                              addilionaf information               OMB NO 0579 0036
                                          U.S. DEPARTMENT OF AGRICULTURE                                               1. INVOICE NO.                                                   2. PAGE
                                ANIMAL AND PLANT HEALTH INSPECTION SERVICE


     RECORD OF ACQUISITION, DISPOSITION OR TRANSPORT                                                                                                                                    1 01'

            OF ANIMALS (Other Than Dogs and Cats)                                                                      3. DATE OF OISPOSffiON


     OSALE                      0    EXCHANGE OR TRANSFER                               ':&1 DONATION                                     tt-26-04-
INSTRUCTIONS: Complete applicable Uems                    t through t3
                                                                Original and one copy io accompany                     4. DEALER'S LICENSE NO.
animals. When delivery is made • \!ems t4 through 20 must be completed. Original relained by Buyer
(Receiver) and copy one returned lo Dealer (Seller or Donor). Copy two to be retained by Dealer {SeUer
or Donor). A.tlach Conlinucllicm Sheer (APHiS FORM 7020Aj as needed.                                                                      4-1-~        \)-GlCO
4. SELLER OR DONOR (Name and Address, include Zip Crx:Je)                                                Ei. BUVER OR RECEIVER (Name and Address. include Zip C!Jde}



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                  ~ Y-l \\-                                                                                                   \Mt-   "2-(otJ,.;;:-t.
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                   /1\+ l+j~"J J:l\                                                                      7. USDA LICENSE NO. (If any)

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                                                                         & IDENTIACATON OF ANIMAlS BEING DEUVEREO
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  TAINER
 TAG NO.,
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                 ANI-
                                PREVIOUS
                                 JNVOJCE
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                                                        INDIVIDUAL
                                                          IDENT.,
                                                        TAITOOS.              SPECIES
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  CRAVE          MALS               (ff any}
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 OR PEN                                             (if applic.ab/&1




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                                                                                 DEUVERY BY COMMERCIAl CARRIER
9. DELIVERY BV    ("'X~   onW                                             10. TRUCK UCENSE NO.                                                           1 t. BILL OF LADiNG NO.

 ~ye!'s Truck                              0   Dealer's Tm~;k
                                               (Seller Of Donor)

12.. NAME. AND ADDRESS OF COMPANV OR FiRM                                                                 13. NAME AND ADDRESS OF TRUCK DRIVER




                                                          DELIVERY RECEIPT - TO liE COMPLETED BY BUYER OR RECEIVER
 14. ANIMALS DELIVERED WE~ 011e)
                                               APPARENT GOOO CONDffiON                  0   POOR CONDITION                0    REJECTED (Attach explanation lor reim;:tton)

 1S. TOTAL NUMBER RECEIVEO                                               16. NUMBER DEAD                                                                  17. NUMBER AUVE

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                                Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 4 of 66                                                                                               Ex. 4-0286
 This record is authorized Dy law (7 USC 2131-2156). Failure lo maintain this recmd cau result in a suspension or                            See reverse side lor                  FORM APPROVED
 revocation of license andlor imprisonment for not more than 1 year or a line ol nol more 1hau $1 000 or both                                additional inlorma!ion                OMB NO 0579-{1036
                                        U.S. DEPARTMENT OF AGRICULTURE
                                   ANIMAL AND PLANT HEALTH INSPECTION SERVICE
                                                                                                                       1. INVOICE NO.                                                     2. PAGE
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       RECORD OF ACQUISITION, DISPOSITION OR TRANSPORT                                                                                                                                       1 OF         \
              OF ANIMALS (Other Than Dogs and Cats)                                                                   3. DATE OF DISPOSffiON



     OSALE                     0     EXCHANGE OR TRANSFER                              )&(DONATION                                        q_ '2>-16
INSTRUCTiONS: Complete applicable llems 1 through 13. Origjnal andl one ~y to accompany                                4. DEALER'S LICENSE NO.


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animals. When delivery is made· Items 14 through 20 must be completed. Original retained by Buyer
(Receiver} and copy one returned to Dealer {Seller m _Donor). Copy two to be retained by Deamr {Seller



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or Donor). Attach Continuation Sheet (APHIS FORM 7020A) as needed.        ·.
4. SEUER OR DONOR (Name and Address, include Zip Code)
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        Nnzo BV\c:~l--.ol-1:2. .                                                                                  Cnck-t- f)ollbl-0 Zoo
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      We.ll)~ u..>eq;.;.                   WJ:                     5LjCf'6]                              7. USDA LICENSE NO. (If any}



                                                                       8 IDENTIFICATON OF ANIMALS BEING DEUVERED
                                                                                                                            Ll:z.r c-06'1M
A.            B.              c.                    D.                 E.                           AGE- SEX          H.           f.
                                                                                                                                                                                RECEIVER'S USE
                                                      INDlVlDUAL                               F.       G.
      CON-                         PREVIOUS                                                                                EST.
     TAINER        NO.                                   IDENT.,                                                                                                          J.
 TAG NO.,          ANI·
                                    INVOICE
                                                        TATTOOS,             SPECIES                                  WEIGHT                REMARKS                                              "-
                                       NO.                                                      NO.        NO.         (lbs.)             (Condition, etc.)
  CRATE            MALS              {if any)
                                                       TAG NOS.                                YOUNG      ADULT
 OR PEN                                              (if applicable)
   NO.


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                                                                                   DELIVERY BY COMMERCIAL CARRIER
9. ~VERY BY ("X" one)                                                   10. TRUCK LICENSE NO.                                                           11. BILL OF LADING NO.

          uyer' s Truck                   0     Dealer's Truck
                                                (Seiter or Oonm)

12. NAME AND ADDRESS OF COMPANY OR FIRM                                                                   13.. NAME AND ADDRESS OF TRUCK DRIVER



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                                                         DELIVERY RECEIPT - TO BE COMPLETED BY BUYER OR RECEIVER
     14. ANIMALS DELIVERED WER~"' one)                                                                                                                                                                .


                                           IN· APPARENT GOOD CONDmON                       0   POOR CONDITION          0      REJECTED (Attach   a~eplanation tor reiection)
     15. TOTAL NUMBER R:::z:.D                                         16. NUMBER DEAD                                                                   17. NUMBER ALIVE

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 18. BV (Signature) (

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                                       Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 5 of 66                                                                                                  Ex. 4-0287
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                                ANIMAL AND PLANT HEALTH INSPECTION SERVlCE
                                                                                                                  .....,..................
      RECORD OF ACQUISITION, DISPOSITION OR TRANSPORT
             OF ANIMALS (Other Than Dogs and Cats)                                                                3. DATE OF DISPOSITION



     QSALE                      0    EXCHANGE OR TRANSFER                                'tiloO!IIATION
INSTRUCTIONS; Complete applicabk Items 1 through f3, Original :and <ffie copy to accompany                        4. DEALER'S UCENSE NO.
animals. When dclivery ls made - Items 14 through 20 musl be completed. Origmal retained by Buyer
{Receiver) and copy one returned to Dealer (SelJer or Donm}. Copy IWO lo be retained by Deafer (Seller
or Donor}. Attach Continua1ion Sheet (APHIS FORM 7020A) as needed.

                                                                                                       &. BUYER OR RECEIVER {Name and Address, include Zip Code)

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                                                                                                       7. USDA UCENSE      N0~~2~             c-           7f!.f
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A.          ..             c.                          D.

                                                         INDIVIDUAL
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                                                                                                       G.
                                                                                                                 H.               I.
                                                                                                                                                                              RECEIVER'S USE
   CON-                         PREVIOUS                                                                           EST.
  TAINER         NO.                                       IDENT.,                                                WEIGHT                       REMARKS                   J.            1<.
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 TAG NO..
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 OR PEN                                                 (if applicable}




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                                                                                  DELIVERY BY COMMERCIAL CARRIER
9. DS.IVERV BY    (~x~   one)                                              1:0. lRUCK LICENSE NO.                                                          11. BILL OF LADING NO.

     ~uyer's Truck                             0   Dealer'S Truck
                                                   (Seiler- or Donor}

12. NAME AND ADDRESS OF COMPANY OR ARM                                                                  13. NAME AND ADDRESS OF TRUCK DRIVER




                                                             DELIVERY RECEIPT - TO BE COMPLETED BY BUYER OR RECEIVER
 14. ANIMALS DELIVERED WE~=-_fX" 011e)
                                     tzl1N APPARENT GOOD CONDiTION                       D POORCONDffiON           0       REJECTED (Attach explanation tor reieclion)
 15.. TOTAL NUMBER RECEIVED                                               16. NUMBER DEAD              ()                                                   17. NUMBER AUVE

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APHIS FORM 7020                     ( ~aces VS FORM 18-20, which is now obsolste, and
   (APR 93)                          -........JPHIS Fcmn 7020 (10..90) which may be used.)
                                    Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 6 of 66                                                                                   Ex. 4-0288
This racord Is authofl2ed by law (7 USC 2131-2156). Failure 10 maintain this f&COfd can resull in a suspension or                        see reverse side tor             FORM APPROVED
revocation of licens& andlot imprisonment for not more than 1 year or a fine of not more thoo $1 000 or both                              additional information          OMB NO 0579-0036
                                           U.S. DEPARTMENT OF AGmCUl11JRE                                           1. INVOICE NO.                                            2. PAGE
                                  ANIMAL AND PlANT HEALTH INSPEcnoN SERVICE


         RECORD OF ACQUISITION, DISPOSITION OR TRANSPORT                                                                                                                      I OF
                OF ANIMALS (Other Than Dogs and Cats)                                                               3:. DATE OF DISPOSffiOH


     OSALIE                   0     EXCHANGE OR TRANSFER                              Hi DONATION                       3 -/b --/0
INSTRUCTIONS: Complete appfkable Items f through 13. Original and one~~ to accompany                                4. DEALER'S UCENSE NO.
animals. When deliVery' is made- Items 14 through 20 must be completed. Original retained by Buyer
(Receiver) end copy one returned to Dealer (Seller or Donor). Copy two to be retained by Deater (Seller
M" Oc:mor). Attach Continu,ation Sheet (APHJS FOP.M 7020A) as needed.
                                                                                                                         7J-            c-         {)JJ<j
4. SELLER OR DONOR (Name and Address. include Zip Code}                                              &. BUYER OR RECent"~ ami Address, include Zip Code}

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                                                                                                     7. USDA UCENSE NO. Of any)                       y__
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                                                                        8. IDENTIFICATON OF ANIMALS BEING DELIVERED
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9. DELIVERY BY ('"'XN one)
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                                                                         10.. TRUCK LICENSE NO.
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                                                                                llEUVERY IIY COMMERCIAL CARRIER
                                                                                                                                                     11. BflL OF LADING NO.

     ~Buyer's Truck                           0
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                                                  Dealer's Truck            ~


     .                                            (Setler or Donor)

12.. NAME AND ADDRESS OF COMPANY OR FIRM                                                              13. ~E AND~~):tRUCK DRIVER

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                                                             llEUVERY RECEIPT • TO liE COMPLETED BY BUYER OR RECEIVER
     14. ANIMALS OIEUVERED WER~ one)
                                              IN APPARENT GOOD CONDITION              0   POOR CONDITION            0    REJECTED (Attach explanation for rejaclion)
     15. TOTAL NUMBER RECEIVED                                          1£. NUMBER DEAD                                                              17. NUMBER AUVE

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                                                                                                                                                           L
     18. BV/~~~:1:                /J..-4/                       ,_,./
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                                  Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 7 of 66                                                                              Ex. 4-0289
    Elkader Veterinary Clinic                          Product Analysis For Client                  Thursday, February 05, 2015
                                            Sellner,Thomas- SELTHO: 04/23/2007- 02/05/2015


    PRODUCT NAME                        PRODUCT# QUANTITY           GROSS              %OF CAT. %0FTOTAL
   (Blank)
     Amputation,SA                                 K174           1 $         165.00         3.29        2.59
     Anesthesia Monitoring                       K1111            2 $          19.00         0.38        0.30
     Anesthesia Pulse-oximeter MonHorin          K1111            1 $           9.50         0.19        0.15
     Anesthesia-Gas, Feline                      K1328            2 $          62.00         1.24        0.97
     Antisedan Reversal per mL                     K197         0.4 $           0.00         0.00        0.00
     Autopsy- owner                                L005           0 $           0.00         0.00        0.00
     Autopsy & Report 2 skunks                     L002           1 $          50.00         1.00        0.79
     Autopsy & Report Leopard                      L002           1 $          50.00         1.00        0.79
     BaytrillnVAdm SA                              K222           1 $           8.00         0.16        0.13
     Bdk Rev                                     K2018            2 $          47.10         0.94        0.74
     Blood collection, LA                          P011           1 $           5.00         0.10        0.08
     Blood collection, SA                      BDRAW              2 $          20.00         0.40        0.31
     Blood Drawing Fee                         BDRAW              1 $          10.00         0.20        0.16
     Consullation/Min. Beef                      P0991          40 $           60.00         1.20        0.94
     Exam/Trt, Wild/Exotic                       P0309            6 $          92.50         1.85        1.45
     Excede PerC<>· -                           EXCED            10 $          30.40         0.61        0.48
     Eye Swab                                    P7899            1 $           5.00         0.10        0.08
     Fecal Examination                           K0569            1 $          10.00         0.20        0.16
     Fecal Float                                 X0529          20 $          180.00         3.59        2.83
     Federal Express Shipping                   FED EX            2 $          81.80         1.63        1.29
     Feline Leukemia Test                        K0578            1 $          32.50         0.65        0.51
     Feline Sero.(fip.Fiv/Felv                     VT22           1 $          79.36         1.58        1.25
     Fluorescein Dye                             K0347            2 $          24.00         0.48        0.38
     Fracture-Bone Plating                       K1879            1 $         450.00         8.98        7.07
     Fuel Surcharge                              T0001            3 $           9.00         0.18        0.14
     Health Cert. Exotic                         P0369            3 $          45.00         0.90        0.71
     lm, lv, Or Sq Injections 1                  K1197            2 $          16.50         0.33        0.26
     In House Blood Count- Cbc                   K0467            2 $          48.06         0.96        0.76
     In House General Heallh Profile            INGHP             1 $          56.02         1.12        0.88
     In House-General Health                    INGHP             3 $         150.20         3.00        2.36
     Inspection & Report                           P098         60 $          120.00         2.39        1.89
     Ips 11nj. Feline                            K1238            2 $          16.50         0.33        0.26
     lsu Lab, Feline                              01028           2 $         125.76         2.51        1.98
     Lab Prep Fee                                   LPF           2 $          15.00         0.30        0.24
     Lab Submission Fee-lsu                         LSF           2 $          20.00         0.40        0.31
     Lactacted Ringer 31                   LACTACTED3             1 $          27.13         0.54        0.43
     Mailing Fee                                  J0022           1 $           6.00         0.12        0.09
     Neuter Exotic                               K0679            1 $          78.00         1.56        1.23
     Office Call Exam                            K0007            6 $         162.64         3.25        2.56
     Office CaiUExam, Other                      K0009            5 $         120.00         2.39        1.89
     Prof. Time                                  P0989         155 $          232.50         4.64        3.65
     Prof. Time, Walk thru/ inspection             P098         70 $           80.00         1.60        1.26
     Prof. Time, Anual walk thrulinspectio         P098         40 $           80.00         1.60        1.26
     Prof. Time, Check aniamls, facilities         P098         50 $          100.00         2.00        1.57
-c·~'f'rof. Time, exam Casper while tiger          P098         30 $-···-"·    60.00         1.20        0.94
     Prof. Time, Inspection And Report             P098         55$           110.00         2.20        1.73
     Prof. Time, SeiV. Min LA                      P098         75 $          150.00         2.99        2.36
     Prof. Time, Walk Thru                         P098         30 $            0.00         0.00        0.00
     Prof.Time,SeiV. Min                           P098         30 $           55.50         1.11        0.87
     Professional SeiVices,Min                   P0964         185 $          277.50         5.54        4.36
     Remove Head For Lab,                        K3017            1 $          22.26         0.44        0.35
     Repair Prolapse                             K1917            1 $         150.00         2.99        2.36
     Shipping/Handling Fees                         UPS           2 $          15.00         0.30        0.24
     Sq Fluids                                   K0279            1 $          15.00         0.30        0.24
     Sq Fluids, Feline                           K0278            2 $          30.90         0.62        0.49
     Tissue Prep. For Shipping                     L010           1 $          20.00         0.40        0.31
     Torbugesic,LA- per cc                         A009           1 $          11.75         0.23        0.18
     Trip          .   ..                        i'0154           1 $          25.50         0.51        0.40
     Trip Cliarge, Wild/Exotic                   T0139          13 $          322.00         6.43        5.06
     Trip Regular Charge                         T0131            7 $         213.00         4.25        3.35
     Trip, Reg. Charge                           T0131            2 $          50.00         1.00        0.79
     Tubes Prep                                  P0158            1 $           1.00         0.02        0.02
     Ultra Sound                                 S0004            1 $          35.00         0.70        0.55


                                                               Page 1                                        Time: 10:43:01 AM
                 Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 8 of 66                                        Ex. 4-0290
 Elkader Veterinary Clinic                              Product Analysis For Client                   Thursday, February 05, 2015
                                             Sellner.Thomas- SELTHO: 04/23/2007-02/05/2015


PRODUCT NAME                            PRODUCT# QUANTITY    GROSS         %OF CAT. %0FTOTAL
Ultra Sound Small Animal                        S0007      1 $       35.00      0.70      0.55
Urlne Analysis, Feline                          K0618      1 $       16.00      0.32      0.25
Urine Sedementation                             K7n7       1 $       13.50      0.27      0.21
Veterinary Technician Hr                        TECH       2 $       33.00     0.66       0.52
X-Rav, Exotic/Other                             K1069      5 $      230.56     4.60       3.62
X-Ray, Feline                                   K1068      1 $       44.00      0.88      0.69
X-Ray, Small Animal                             K1067      1 $       75.00      1.50      1.18
                                        Totals:        962.4 $    5,010.94               78.74
Cs
Telazol5ml Bottle                          TELAZOL5               1 $        159.00      100.00            2.50
                                        Totals:                   1 $        159.00                        2.50
Drug
Anes. Surg. Baboon Neuter                     ANEPRE              1   $       50.00          23.29          0.79
Baytril LA per ml                         BAYTRILLG               1   $        3,79           1.77        . 0.06
C.9nvenia per cc_                             CONV1Q_             1   $       47.61          22.18-         0.75
LA200 100cc                                 LA200100           0.05   $        0.96           0.45          0.02
Naxcel 1 Gram                            MBNAXCEL1                2   $       72.28          33.68          1.14
Sedate SA                                 SEDATESA                2   $       40.00          18.64          0.63
Torbugesic- Per Cc                              TORBU           0.5   $        0.00           0.00          0.00
                                        Totals:                7.55   $      214.64                         3.37
Herb
Traumeel Tablets 100ct                       TRAU100              1 $         20.00      100.00            0.31
                                        Totals:                   1 $         20.00                        0.31
lose
QuickBayt -5 lb Pail                     QUICKBAYT                1 $         41.05          63.21         0.65
QuickBayt Spot Spray Concentrate 3       QUICKSPR3                2 $         23.89          36.79         0.38
                                        Totals:                   3 $         64.94                        1.02
Mb
Banamine Per Cc                          MBBANAMIN                2   $        1.22           5.21         0.02
Dexamethasone Per Cc                     MBAZIUMCC               12   $       18.00          76.82         0.28
Gentocin 50mg Per Cc                     MBGEN50CC                1   $        4.21          17.97         0.07
Ketaset Per Cc                           MBKETASET             0.85   $        0.00           0.00         0.00
                                        Totals:               15.85   $       23.43                        0.37
Oils
Oils Lavender Spray                        LAVSPRAY               1 $         22.40      100.00            0.35
                                        Totals:                   1 $         22.40                        0.35
Sm
AID Prescription Diet K9/Fel 5.5o~ ca             ADK9            1 $         2.13        0.52            0.03
Aminophylline inj                        AMINOPHYC              0.3 $         6.59        1.61            0.10
Amoxi Tabs 200mg                         AMOXITAB20             14 $         11.62        2.64            0.18
Anesthesia Gas                                  GASAN             1 $         0.00        0.00            0.00
Anesthesia-Gas                                     K132           2 $        63.86       15.62            1.00
Baytrillnj.(sm Animal)cc                  BAYTRILCC           10.5 $         45.15       11.04            0.71
Baytril SA per ml                         BAYTRILCC               5 $        21.50        5.26            0.34
Bone Plate 6 Hole                        BONEPLATE                1 $        41.00       10.03            0.64
Buprenex lnj per cc                           BUPREN           0.1 $          0.00        0.00            0.00
Clavamox Drops 15ml                      CLAVAMOXD                1 $        25.40        6.21            0.40
Clindamycin 150mg                        CUNDAMYCI              34$          31.28        7.65            0.49
Clindamycln Cap. ·25mg                  CUNDA25MG               28 $         22.40        5.48            0.35
Felovax PCT 10ds                           FELPCT10               1 $        41.72       10.20            0.66
Fline Plus Feline Green                     FLFELINE              1 $        35.73        8.74            0.56
Gentocin Durafilm 5ml                    GENTOCINO                1 $         7.95        1.94            0.12
In House Blood Count- Cbc                        K0467            1 $        25.05        6.13            0.39
Laxatone-Catlax -Each                    LAXATONET                1 $         5.00        1.22            0.08
Metacam Injectable 5mg per Ml                    K1530        0.02 $          0.37        0.09            0.01
Silver Sulfadiazine 1% 400gm                  SILSULF             1 $        22.11        5.41            0.35
                                        Totals:             103.92 $        408.86                        6.42


                                                               Page2                                          Time: 10:43:01 AM
              Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 9 of 66                                            Ex. 4-0291
 Elkader Veterinary Clinic                          Product Analysis For Client                    Thursday, February 05, 2015
                                        Sellner, Thomas- SELTHO: 04/23/2007- 02/05/2015


 PRODUCT NAME                       PRODUCT# QUANTITY             GROSS            %0FCAT. %0FTOTAL
 Supp
 Blades Each #30                      BLADESEA                1 $          22.99          92.55         0.36
 Syringe 3cc/Needle                 SYRINGE3NE                4 $           1.85           7.45         0.03
                                    Totals:                   5 $          24.84                        0.39
 Vace
 Tetanus Antitoxin 1500Ui               TETANUS               1 $          10.12      100.00            0.16
                                    Totals:                   1 $          10.12                        0.16
 VI
 Red Top Blood 10ml Tubes             TUBES RED               1 $           0.30      100.00            0.00
                                    Totals:                   1 $           0.30                        0.00
 Vs
  Dexdomilor per cc                         DEXDO           0.5   $         0.00           0.00         0.00
  Scalpels22                          SCALPEL22               1   $         1.08           5.66         0.02
.-ViCryi3/0 Fs-'1 "]452h-           -·- VICR'f:>o            -2   $--   - ·rs.oo          94.34-        o:2a
                                    Totals:                 3.5   $        19.08                        0.30
 Worm
 Panacur 1000mt BoHle                PANACUR10                1 $         125.00      100.00            1.96
                                    Totals:                   1 $         125.00                        1.96
 Wanner
 Panacur Suspension 1OOOml Bottle    PANACUR10                2 $         260.21      100.00           4.09
                                    Totals:                   2 $         260.21                       4.09
                                    Report Totals:     1,109.22 $       6,363.76                     100.00




                                                           Page3                                          Time: 10:43:01 AM
             Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 10 of 66                                          Ex. 4-0292
 USOA                      PROGRAM OF VETERINARY CARE INSTRUCTIONS
 ---=::e
/~'
-~                         *The enclosed Program of Veterinary Care (PVC) should be completed and signed by
 United States                   your attending veterinarian and must be signed by you.
 Department of
 Agriculture
                           *Keep the properly· completed PVC as part of your records that will be
 Animal and Plant
 Health Inspection                reviewed by your USDA inspector.
 Service

 Animal Care               *DO NOT send the completed'PVC form to this office.
 Western Region

 2150 Centre Ave.          '"You need a new PVC form only if you change your attending veterinarian.
 Building B
 Mall Stop# 3W11
 Ft. Collins, CO 80526     *You need to update your PVC form and have it re-signed by your attending
 Phone: 970/494-7478
 Fax: 970/494-7461
                                 vetfi!rinarian any time you add a new species of animal to your facility or make
                                 any other changes in the veterinary care you are providing.

                           *This sheet may be used as a means to document your attending veterinarian's visit.
                                  to your facility. If you choose to use it for that purpose, have your attending
                                  veterinarian sign and date this sheet during e<~ch visit to youdacility. Your
                                  attending veterinarian must visit your facility at least once each year. This
                                  sheet should be kept with .your PVC.


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                                          Veterinarian Signature                   Date

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                                          Veterinarian Signature                   Date

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                                   ;;;o   Veterinarian Signature                   Date                 ·


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                                          Veterinarian S~gna~ /
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               i~·:       APHIS - Protecting American Agriculture

                          .Q,n Equal Opportunity Employer

                         Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 11 of 66                 Ex. 4-0293
                        *The enclosed Program of Veterinary Care (PVC) should be completed and signed
llrmed States                 by your attending veterinarian and must be signed by you.
Department of
Agriculture
                        *Keep the properly completed PVC as part of your records that will be reviewed by
Animal and Plant               your USDA inspector.
Health Inspection
Service
                        *DO NOT send the completed PVC form to this office.
Animal Care
Western Region          *You need a new PVC form only if you change your attending veterinarian.
2150 Centre Ave.
Building B              *You need to update your PVC form and have it re-signed by your attending
Mail Stop# 3W11
Ft. Collinst CO 80526
                              veterinarian any time you add a new species of animal to your facility or
Phone: 9701494-7478           make any other changes in the veterinary care you are providing.

                    - -"iliis sheefmaybeused as a means to aocument your attemiing veterinal'ian's
                               visit to your facility. If you choose to use it for that purpose, have your
                               attending veterinarian sign and date this sheet during each visit to your
                               facility. This sheet should be kept with your PVC.


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                                                                                                             Date


                                    Veterinarian Signature                                                   Date


                                    Veterinarian Signature                                                   Date


                                     Veterinarian Signature                                                  Date


                                    Veterinarian Signature                                                   Date


                                     Veterinarian Signature                                                  Date

                                     Note: This is an optional document to assist licensees/registrants in meeting the requirements of
                                                 the regulations. Licensees/Registrants may develop their own formats if desired.




             APHIS      Sqfeguarding American Agriculture
             ~ APHIS is an agency of USDA's Marketing and Regulatory Programs

              ~         An Equai Opportunity Provider and Employer     - .

                        Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 12 of 66                                               Ex. 4-0294
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                                                                                                                                                                                          Subchapter A, Part II, Subpart C. Sectton
         and reviewing tile form. Send comments regarding this burden estimate or any other aspects of tRis collection of
         inlormation, including suggestions foffeducing the burden.-lo USDA, OIRM, Clearance Officer, Room 404-W, Washington,                                                             2.33 and Subpart 0, Section 2.40 requires
         DC 20250 When replying reler to the OMB Number and Form Number in your letter                                                                                                    a Program· of Veterinary Care

-                                                                 U.S. DEPARTMENT OF AGRICUlTURE
                                                             ANIMAL AND PLANT HEAlTH INSPECTION SERVICE
                                                                                                                                                                                            FORM APPROVED OMB NO. 0579-{)036
                                                                                                                                                                                                        OFFICE USE ONlY
                                                                                                                                                                                    .
..,.#.                                       ANIMAL CARE                                                                                                                                 DATE RECEIVED
                  (Program of Veterinary Care f()( Research Facilities or Exhibitors/Dealers)

                                                       SECTION I. A PROGRAM OF VETERINARY CARE {PIIC\ HAS BEEN ESTABLISHED BETWEEN:
                                          A. UCENSEE/REGISTRANT                                                                                                                     B. VETERINARIAN
                                                                                                                                      1. NAME
    '· NAMPuvr. e                      lc.c S e/l1-1:e 1                                                                                        ~10 '-".\.\.         \-\. •   .Pv- ~ ?S f)l)JM_
 2. BUSINESS NAME                                                                                                                     2. CLINIC                                           .


    3.
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          USDA LlCENSEIREGISTRA110N NUMBER
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                                                                                                                                      3_ STATE LICENSE NUMBER
                         lf'2 C- CJO'iS'-l                                                                                               ~c,_ ~S"tl
 4.       MAIUNG ADDRESS                                                                                                              4. BUSINESS ADDRESS

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                                                                                                                                                                                                    .                .

 5.       CITY, STATE AND ZIP CODE                                                                                                    5. CllY, STATE AND ZIP CODE


                 ~~c~es+e~~ (;'2(Jb7                                                                                                       t-l~r-;~                                             s2.0'+s
 6.       TELEPHONE NO. (Home)                                        1   TELEPHONE NO. (Business)                                    6. TELEPHONE NO. (Business)                           ·   ·
 ~t.P3- q-:2..7 -& wSS"                                               :                                                                    60"3- 2...4.S-- Ito .S3

              This is a form that may be used for the Program of Veterinary Care. Also, this form may be
              used as a guideline for the written Program ofVeterinary Care as required.

              The attending veterinarian shall establish, maintain and supervise programs of disease
              control and prevention, pest and parasite control, pre-procedural and post-procedural care,
              nutrition, euthanasia and adequate veterinary care for all animals on the premises of the
              licensee/registrant. A written program of adequate veterinary care between the
              licensee/registrant and the doctor of veterinary medicine shall be established and reviewed
              on an annual basis. By law, such programs must include regularly scheduled visits to the
              premises by the veterinarian. Scheduled visits are required to monitor animal health and
              husbandry.

              Pages or blocks which do not apply to the facility should be marked N/A. If space provided is
              not adequate for a specific topic, additional sheets may be added. Please indicate Section
              and Item Number.

              I have read and completed this Program of Veterinary Care, and understand my
              responsibilities.

              Regularly scheduled visits by the veterinarian :\ill occur at the following frequency:
              _ _:_A_..Y\!!JliLLO-"'"'-'c"'-'_,_1_(~lt..._,LA.,.~'?l-"'uw;;o,_.f?-t)'--'S..<.J:;;>:::j-f'O"-'b'-"<211-a"""-""-be'"""'-'-r-::-::)f------- (minimum annual}.



                                                                                                                                                                                   I DATE

                                                                                                                                                                                   !\L    lt>fgloq

    APHIS FORM 7002                                                                                                                                                                                                      Page 1 of 4
        (JUN 92)



                                   Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 13 of 66                                                                                                                    Ex. 4-0295
     <.;ttt:L;I\ II" 1'1/A   U                                                            ~t:l'IIUN   II.   UUU;) ANU l#AI:;

 A    YACCINAnONS       - SPECIFY THE FREQUENCY OF VACCINATION FOR THE FOLLOWING DtSEASES                                                    .
                                                 CANINE                                                                                 FEUNE                                                    -
                                                          JUVENILE               ADULT                                                          JUVENILE                  ADULT
                                                 '2_ .L        I
 PARVOVIRUS                                                                    L1YlVl~&l              PANLEUK                           12.A."'"' J4.                      MIA
 DISTEMPER                                            .I               I   I              I           RESP. VIRUSES                        •c              ~                    «
 HEPATmS                                              I            I                  I               RABIES                             I ?-.-~uJK.e.           1)<>"2,. oA~ '-"   b    )

 LEPTOSPIROSIS                                    I            J                  /                   OTHER {Sf"'Cifv)                                             ~          "'_yf'
 RABIES
 BORDETELLA
                                                 12..- IZ..wi(!, I" r be:t517-3 :::? 'L
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. OTHER /Soeci!Yl_
 B. PARASITE CONTROL PROGRAM                 ~   DESCRIBE THE FREQUENCY OF SAMPLING OR TREATMENT FOR THE FOllOWING:




2. BLOOD PARASITES (Heartworm. Babesia, Ehrlichia, Other)

         _::cve.u->\.cee-+1"'-; pnev~oll\_

3. INTESTINAL PARASITES (Fecal$, Dewonning}

          {JA-~u.:l'             0"'"'- I   .deu-!5o-~~


 C EMERGENCY CARE~ DESCRIBE PROVISIONS FOR EMERGENCY, WEEKEND AND HOLIDAY CARE

                   E.IV14J~\.~"'-;G




0. EUTHANASIA
 1. SICK, DtSEASEO, INJURED_ OR LAME ANIMALS SHALt BE PROVIDED WITH VETERINARY CARE OR EUTHANIZED. EUTHANASIA WILL BE IN ACCORDANCE WITH
    THE AVMA RECOMMENDATIONS AND WILL BE CARRIED OUT BY THE FOLLOWING:

                   ~ETERINARIAN                                    0       LICENSEEIREGISTRANT

 2. METHOD(S) OF EUTHANASIA

               I   \1 )-s>QL+~B'V\.._ e.e..c)-4~4_'E>VIuhO"'--



 E. ADDmONAL PROGRAM TOPICS                  M   THE FOllOWING TOPICS HAVE BEEN DISCUSSED IN THE FORMULATION OF THE PROGRAM QF
    VETERINARY CARE


     0    Congenital Conditions                                                                       0     Exercise Plan {Dogs)
     G'rOuarantine Conditions                                                                         g 'Proper Handling of Biologics
     [3' Nutntion                                                                                     ~Venereal Diseases
     ~Anthelmintic alternation                                                                        ~Pest Control and Product Safety
     D    Other(Specify) _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                 0     Proper Use of Analgesics and Sedatives



 APHIS FORM 7002                                                                                                                                                          Paue 2 of 4

                             Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 14 of 66                                                                               Ex. 4-0296
   CHECK IF NIA           U                                             :SEI.;IIUIII Ill. WILU ANO 1::1\U I I(; ANIMAL::>

 A. VACCINATIONS- UST THE DISEASES FOR WHICH VACCINATIONS ARE PERFORMED AND THE FREQUENCY OF VACCINATIONS (Enter N!A if not
    applicable)




ELEPHANTS


MARINE MAMMALS            fl.!/A

B. PARASITE CONTROl           PROGRAM~   DESCRIBE THE FREQUENCY OF SAMPLING OR TREATMENT FOR THE FOllOWING




C. EMERGENCY CARE
1. DESCRIBE PROVISIONS FOR EMERGENCY, WEEKEND AND HOLIDAY CARE

                              e) JG..d.,,..   l)e:t:.   c \' .... ~ "'----

'""k-..::JESCRIBE CAPTURE AND RESTRAINT METHOD(S)
           6<f;/' .....   ~e.,.-~, f"''e&·t"~~,                                 CO-._f""-'e""<icl4Jr-b


0. EUTHANASIA
1 SICK, DISEASED, INJURED OR LAME ANIMALS SHALL BE PROVIDED WITH VETERINARY CARE OR EUTHANIZED. EUTHANASIA WILL BE IN ACCORDANCE WITH
  THE AVMA RECOMMENDATIONS AND WILL BE CARRIED OUT BY THE FOLLOWING:


              )Zl    VETERINARIAN                          0     LICENSEE/REGISTRANT




 E. ADDITIONAL PROGRAM TOPICS
    VETERINARY CARE


    ~_}3est Control and Product Safety                                                    [~{Environment Enhancement (Primates)
    lkf 9uarantine Procedures                                                             0    Water Quality (Marine Mammals)
    ~oonoses                                                                              ~pecies-specific Behaviors
    0    Other (Specify)                                                                  0    Proper Storage and Handling of Drugs and Biologics
                              ~------------------------
                                                                                          0    Proper Use of Analgesics and Sedatives

 F. . UST THE SPECIES SUBJECTED TO TB TESTING, AND THE FREQUENCY OF SUCH TESTS




 APHIS FORM 7002

                           Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 15 of 66                                                       Ex. 4-0297
A. INDICATE SPECIES

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C PARASfTE CONTROL PROGRAM            ~·DESCRIBE   THE' FREQUENCY OF SAMPliNG OR TREATMENT FOR THE FOllOWING
1. ECTOPARASITES (Fl..sas. Ticks, Mites, Lice, Flies)
 -g..,·,~- P"'""-'"-c"- """" ""'-"'de<L
:Sl.ee,o/;atbJe~:.... j.c,.bbi"f-5 .w//j ~-/- «>.> n~..d.



D.   EMERGENCY-CARE~        DESCRIBE PROVISIONS FOR EMERGENCY, WEEKEND AND HOLIDAY CARE




E: EUTHANASIA
1. SICK, DISEASED, INJURED OR LAME ANIMALS SHALL BE PROVIDED WITH VETERINARY CARE OR EUTl-lANlZEO. EUTHANASIA WILL BE IN ACCORDANCE WITH
   THE AVMA RECOMMENDATIONS AND WILL BE CARRIED OUT BY THE FOLLOWING:


              Ji       VETERINARIAN                     0   LICENSEE/REGISTRANT


2. METHOO(S) OF EUTHANASIA

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     6UH~A/0 .,W.r~r-;1-



F. ADDil10NAl PROGRAM TOptCS- THE FOLLOWING TOPICS HAVE BEEN DfSCUSSEO IN THE FORMULATION OF THE PROGRAM OF
   VETERINARY CARE       .


     ~teurellosis                                                                 [kl/ Species Separation
     ~Pododermatitis                                                              Q;Malocclusion!Overgrown·-lncisors
     0 Cannibalism                                                                S _Jest Control and Product Safety
     o-~
     0
                                                                                  ~-~
          Other ( S p e c i f y ) • - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
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APHIS FORM 7002

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                                                                                                     Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 24 of 66   Ex. 4-0306
       I
                       Things to cover in a bite situation


First and foremost never put the animal in a situation that a bite or scratch can happen.
[f you move an animal away from the situation after any notifications have
oeen made to you, I believe it is a federal offense, and you may be subject to
prosecution.


1.) Remain calm and remove the primate from the situation so no one else gets bit.
2.) Focus all of your attention and attend to the person with the bite.
3.) Wash the wound thoroughly with soap and water.
       *If you are too emotional to handle this type of situation, find or call someone to
3ssist you.
     Remember, do not blame them for their mistake. In the eyes of the law it was
     you and your primate who made the mistake. Be as pleasant and corporative as
     possible. Offer to pay for any and all the medical attention needed.
4.) Call your veterinarian so he/she can be informed as to the situation and also have
:ime to prepare and get a copy of the primate's medical records so if they are needed
:hey will be ready.
     Also check and see if-your primate's vet is able to handle the quarantine-if it is or-
     dered. Be aware that not all facilities are approved by the Department of Health
     to handle quarantine, and many municipalities will not see quarantine as an op-
     tion.
5.) First request home quarantine, if that is not permitted, request quarantine with your
)Wn vet.

      *Make sure if they decide to quarantine you know the rules.
            Does this municipality allow quarantine of wild or exotic animals?
            Do they make allowances for special circumstances and allow home quar-
            antine?
            Does it have to .be in a vet's office and will your vet house the primate?


     * It is also important to remember that when a child is involved all the •rules
     change. When an adult is involved, if the situation is handled with compassion

                                                                               THE SIMIAN-12
                                                                   Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 25 of 66   Ex. 4-0307
        cern panic, they can be convinced to take post exposure rabies shots if you offer
        to pay for them. *Be aware that this is very expensive.


       Also, any time a child is involved you can count on the situation being treated as
       a higher risk. Please remember, even though you consider your primate part of
       your family and the most important thing in your world, the public's and health
       departments main concern is for the safety of the child involved. In many in-
       stances involving children, the animal is euthanized and tested so the child does-
       n't have to endure any more traumas. Many people still believe that rabies shots
       are a horrible painful experience, such as what was used in the past.


 In most states, any time a person is bitten or scratched by a domestic or wild mammal
 and they obtain medical help, the treating facility is required by Jaw to report the inci-
 dent to the local authorities or health department. It is still required even if the mam-
 mal is a family pet and has up-to-date rabies shots.
       *Remember the health department has the final say in all bites; so treat them
 '     with courtesy and respect when talking to them.


 Human health is their only priority no matter how well cared for or loved the animal is,
 they will always err on the side of caution to protect human health. They will always
 take the word of the human victim.
· It is· alsoimportanttoiemember for    iilstan'cei~tiiaf~lfeflthough a child Was· bitten or
  scratched, and the parents are not concerned, if that child goes to school and a teacher
  sees it and sends the child to the school nurse the school is also required by law to re-
  port all animal bites and scratches.


 What happens after a bite is reported?


 It is important to know that in many instances, quarantine is only approved for domes-
 tic animals that have an approved rabies vaccination and known incubation period for
 rabies.                                                             ·


 Once a reported mammal bite is confirmed, the Health Department notifies the mam-
 mal's owner of quarantine law. Any mammal involved in a bite incident is usually re-
 quired by law to be quarantined for at least 10 days after the bite occurred. Quarantine

                                                             Continued on page 14 >>>>>

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                                                   ----~~                                                                      ·--·"·~··· ···--~-"·-----

This regimen consists ofone dose of immune globulin and five doses of rabies vaccine
over a 28-day period. The vaccines are given in the arm and can be administered after
exposure ..
Pre Exposure Rabies Vaccine

A. precexposur!'!V(ICCination is. avail~t>l.~.{or.n~bies preV~Q~iQn and res()J"r)f11~1Jd.~~Jprper­
sons in high-nsk pi'OTeSSIOnS SUCii as \fetennanans, ammalcOmrol offi.cers,~rnailffnC:il __.
handlers, and certain laboratory workers.

                                                                                                                                                                        THE SIM!AN-15




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                                                                                          Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 27 of 66                            Ex. 4-0309
                                                                                                      LIC/REG NO.


          The An~l Welfare Regulations, 9 CFR, Part. l, 'Silbpoilrt A, Sect.iol,l ~_.:tj, requires
          all. Ueenilees and registrants t 0 , ?.evelop, cc!OC:!'JIIjt,r,ot and fol1ow an approprl.al:e
          exercise plan for their dogs. In :addition* the_ ex!!!J1C:i~ plan :must: be approved
          by __ the a;t-tendi~p ______ve_ter lnari._n .. ~:-·In_-. ___d~vel_or:i~9--:-::~-~-~:>l!x~~s+:~~-> :··p:l~n., you _sb():U_'Id'
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  - '-          humllnao l"orced metltclls of e~rcl11e•, such 'i!'i> tre"!~il"ls, swi.mllling or caroousel
                are unaccept_":!>i"'' _for meeting tite,exerc:ise requirements.
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                Please     ¢beck:      ,;~~~'i'~r9;priilte -~: ar,o~< _ if•r,>•:'"'eillaary, describe below •
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                   the floor aP.&i:e requiril!l fQr -that dog. ·'"" di\>8cribed in seet.loll l . 6 1c:) fll •


         fJ        My dqgs are over 12 weeks of aqe and are ilcili.•ed .i.D coapo11.tiJ>U• groups in
                   a c&life, pen: or run that provides, in total, 'at. least tcoo percent. of the
                   r.!Oqllired apace for each doq if it were maintained separatel.y.
         ·{   ;} , Jltber:   Please describe the exercise provUII!d to your dogs>ito meet these
                   -·requirements (type or. prttlt legibly) •




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                       Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 28 of 66                                                 Ex. 4-0310
                                                                                                                           Email this n




 Veterinary Diagnostic Laboratory                                                                       Accession: 2006036496
 Iowa State University
 College of Veterinary Med.icine
 Ames, Iowa 50011-1250                                                                      Web Report
 Phone: 515-294-1950
 Fax:515-294-3564                                                                           Date Received: 10/19/2006
                      Dr. Arthur G. Dunham
                                                                                            Owner
                      Ryan Veterinary Service
                                                                                            Pam Sellner
                      PO Box48
                                                                                            1512 21oth St
                                                                                            Manchester, lA 52057
                      Ryan, lA 52330

                                                                                            Reference:
                                                                                            Diagnostician: Jordan , Dianna
                                                                                                         -----~---


 Client Phone: 563-932-2094                      Species: Primate               Age: [N/A]
 Client Fax: •563-932-2996                       Breed: Lemur                   Weight: [N/A]
 Client Account#: 401331                         Sex: Male                      Item Received: 1 Dead
                                                                                Sample Collection Date: 10/18/2006


 A 7-month-old Lemur was received for necropsy and evaluation. A sibling of this lemur demonstrated neurologic
 disturbances and died. This lemur has incoordination. There were no gross abnormalities noted.




Microscopic Description:
There was a focal area of necrosis in the cerebrum. The area replaced the parenchyma with numerous neutrophil
eosinophils and necrotic debris. The surrounding vessels had perivascular accumulation of neutrophils and
eosinophils. The other organs were unremarkable.                   ·
Special stains were negative for acid-fast bacteria and fungal elements.
                                                 I

 Diagnosis:
 Encephalitis, necrotizing, focal

Comments:
Tissues have been retained if further testing for viruses or bacteria are warranted. (1 0/26/06 dmj/clm)



Dianna M. Jordan. D.V.M., .Ph.D.

KEY: Tests: IHC•Immunohislochemlstry, FA•Fiuorescenl Anlibody, VI.Yirus Isolation, E~Eiectron Microscopy, PCR•Polymerase Chain
Reaction. Agents: PRRSV•Porcine Reproductive & Respiratory Syndrome, PRV•Pseudorabies Virus, SIV•Swine Influenza Virus, M
hyo:;Mycop/asma hyopneumonlae, PPV=Porcine PaiVovirus, PRCV=Porclne Respiratory Coronavlrus, TGEV=Transmissible Gastroenteritis\
PCV=Porcine Circovirus, IBRV=Infectious Bovine Rhlnotracheitis Virus, BVDV,.Bovine Viral Diarrhea Virus, BCV=Bovine Coronavirus,
BRSV•Bovine Respiratory Syncytial Virus.




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http://www.vdpam.iastate.edu/isulims/GeriViewHtml.jsp?acc=2006036496         1117/2006
                                                                                                                                          . -.
 Test Ordered                             Order Date        Current Status      Complete Date
 Hematoxylin and Eosin Slides             10/20/2006        Result Released     10/20/2006
 Necropsy (juvenile - adult)              10/31/2006        Result Released     10/31/2006
 Special Stains - Acid Fast               10/26/2006        ResuH Released      10/26/2006
 Special Stains - Fungus (PAS)            10/26/2006        Result Released     10/26/2006
 Special Stains- Mast Cells (Giemsa)      10/26/2006        ResuH Released      10/26/2006




 HISTOPATHOLOGY
 Hematoxylin and Eosin Slldeo;
 AnimaiiD                      Specimen                                       Comments
 Twin Brother                  Assorted
 Special Stains -Acid Fast
 AnimaiiD                      Specimen         Bl!lill!t                     Comment
 Twin Brother                  Assorted         Negative
 Special Stains -Fungus (PAS)
 AnimaiiD                      Specimen         Result
 Twin Brother                  Assorted         Negative
 Special Stains - Mast Cells (Giemsa)
 Animal ID                     Specimen         Result                        Comment
 Twin Brother                  Assorted         Negative

Download the CSV file

View in Excel format




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http://www. vdparn.iastate.edulisulims/GenViewHtml.jsp?acc=2006036496       11/7/2006
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 FECAL EXAM     wo         PRODUCT            VACCINATIONS       MISC. TREATMENTS & INFO

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      Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 33 of 66                   Ex. 4-0315
From:    Jessica Blome
Sent:    Wednesday, April 1, 2015 12:48 PM
To:      lthorson@akklaw.com; 'Theresa Trenary'
Cc:      Daniel Anderson; Jeff Pierce
Subject: Additional Discovery Requests
Attachments:     03-31-15, ALDF Discovery Requests to Pam
Sellnerdocx.docx

Larry,

It was nice meeting you in person last month. My family is telling me
that
the weather has really turned around. I hope thatís true. Itís been a
long,
Iowa winter.

I am attaching some additional discovery requests directed at Pam
Sellner,
which are a result of her discussion of some records she discussed
during her
deposition. I also wanted to ask you to confirm that Zaboo and Chuki,
the
ring-tailed lemurs, are still alive and well at the Cricket Hollow
Zoo.
According to USDAís March 4, 2015, inspection report, the Zoo only had
one
ring-tailed lemur, but Pam Sellnerís records show that she acquired
Chuki in
2010 and Zaboo on September 9, 2014. In her deposition on March 20,
2015,
Ms. Sellner represented that both Chuki and Zaboo were alive and well,
so I
just want to confirm that remains true as of today. If not, please
provide
documentation of Zabooís disposition or death.

Best,

Jessica

Jessica L. Blome | Staff Attorney
Animal Legal Defense Fund | aldf.org
C 641.431.0478 | F 707.795.7280
* jblome@aldf.org

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                  Chlorido             (         5\         nwo!/1.         '107•12< !ffM24                                    ... 109             , ...1116       i   101·100
                 ~                               )z. "'"'"' ·                50-12o             1   S0:14o                1 oo-11o                   ....,                   -
                                                                                                                                                                                          700 E. University c; Des Moines, lA 5G;:; ; .::;
                                                                                                                                                                                          (Alt U.S. M~!!} P.O. ecx '!0!\28 ~Des Molnes.lA 50306
                            u                  1<5 """"' , oo-2w i "''"'""                                                1 oo-2oo                1 """""               oo-101            1·800-368-0129 •. FAX 1-515-263-2574
                 -..'"".. - 7                  ,;-q gldl S.Oo7.7 : 5.4-7.8                                                                        I 6......
                                                                                                                                                                                                       ;Se\\~                                               Ill_. \~-Q5
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             (Aibuml9 , /                                         gldl     1 2.4-<. 1           -2A'4. r-,                [ 2.6.ol.l              1 2.4->.5             2.3-1. •          OWner:                                               Date:
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                                                                                                                                                                                         Patient:        .K.e rr h?""
               , "" ,                       .,.              -oiL    ....,                          ·o.ao . .......,                                ,.,.,..              ,..,.             Specimen Condition:                0Hemolyzed                      0Lipemlc
         ,-- ALT(SGPT}                         '7                UJl         10.110         I IO.ttO                           ....                  ....               21·75                                                 0      Icteric                  0     Rec'd on Clol
         !                                .£..,"'                Ull          Cl-10                 0.10                       .....                 ......              1·21
         I       All<..... Pho>.                 (,;,'           UJl       • 20.150         I 0.100                   I ti0-212 I 24·147                                0.342                                                SEROLOGY
         1 c""""'                         1                  .,.,.,         6.6-tt.o        ;o.o.m·                   I10.<-1>.o                  i•·•·H.o         8.4-lt.o               Test                           Result                     Test                   Result
         ;                                /a,                mgrcl        p.1-1J~f          1   1.6-l'.o                   1.7....7               12.6-9.1             3.9-9.4            61    ANA                                   71    Heart Wonn (OccuH.)
         ;       BUN                   ,it~                  fnOidl        -6-28                -\0.35                         6-27                 :>:Ill              6-19              62 Brucellosis         .                    72 lgG
                 Cntotinlna           < 5"                   niotdl       I0.3-1.9 ID.6·2.0 ! QG-2.0 ! QB-1.9                                                          1.1-3.6            63 CfYPlO                                   73 lgM
                 CK(CPI<)             7.            o'2,         U/1.        D-315               0.260                I    00.330                   0·140               0-650             64 FetV                                     74    LymoAb.
                 Amyl"'                                          Vll      ~00-2000      1300.1650                              0.30                 40.90                                 65 FIP                                      75    P81YOV1rua
         >       Oom<toi;<y                         1g                    j261·297 1262-325 120!>·216                                         1259-210         [ 249-293                  66 FIV                                      76 Progesterone
     r           o;'"" """"""                               mgldl         1 o.o-o.> 1o.o-o.3 1 o.o.o.3                                        1oJ>o.•          • o.o.o.1                  67 Fung. Sc. Asper.                         77 RA. Factor
     z                                                      ._            · o-102 1 u-no        ,.....                                          """                    ,.,., ..           61'1 Fu~. Sc. Blasfo.                       78 Toxoplasmosis
     , -v"""""                                              mol"'         1o.o-1.>      1       o.o...o           1uo.r                       1o.r-u           i   o.o-o.2                69 Fung. Sc. Cocdd.                         78 Tll
     , "'"                                                 -,...,..., i<o.m                             -                          -          1    5..,,.                -                70 Fung. Sc:. Hlsto.                        80
     su0,..-                                                     UJL      12o-150 11...,so 1,......                                                  -                   -                                                   URINALYSIS
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     ' T3
     ' T4
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                                                            ngldl
                                                                         I 54-172
                                                                           I.O.S.O
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                                                                                                                  I 45-150 I 78-166       -
                                                                                                                  I 2.2-5.0 12.0.7.2 I 2.0-7.2
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                                                                                                                                                                                         84.
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                                                                                                                                                                                               MicroscopiC   --                                            BIUrubfn
                                                                                                                                                                                                                                                           Ketone
     l       TSH, Canino                                                 f'-03-0.32                 -                          -                     -                                   65.   WBC                            lhpf          ROC                               lhpf
 1                                                          ..,..          t:04.o 111s.as                                      -                     -                   -               86.   Epl!h
                                                                                                                                                                                         87. Cly$tals
                                                                                                                                                                                                                              /hpf
                                                                                                                                                                                                                              /hpf
                                                                                                                                                                                                                                            Casts                             /hpf
 z                                                          ugldl        16.1!-2"-0 j4.0.10.0                                  -                     -                   -                                                                 Bacteria                           /hpf
 1                                                          UQI<ft         o.0-1.5              -;_                            -                     -                   -                                                    CALCULI
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 ;           Bii«Acld(P10)
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                                                                            O.S
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 f~                                                                         0.15                    -                          -                     -                  -                                              MICROBIOLOGY
                                                                                                                                                                                                Org ;mlsm -+
                                                                                                                                                                                         90. Amll<acin
                                                                                                                                                                                         91. Ampicillin
                              ·                   . x10'"""'               s.s.oy .                               1 6.5·12.5                      5.o.1o.o             5.0-IJ.o          92. Augmenl!n
 0           -~                   . 4. i                     gldl        112.0.16.5 16.0.15.0                              11-19                  6.0.15.0 110.0.16.0                    93. Ca!benlcillin
 .i .Hd                       ~~--                               '!j.       36-56               24...S                     32-52                   24""6               32-50            94. Cephalolhin
12           MCV              ~                     '!     Vu               6l>77               39-55                      -                       ,....,              '"""'            95. Chlorampphenlool
13           MCH              1,_ .--                       ....,           19-25-          -13-!7                ·'"'"''·'·                       14·19       .       16-22             96. ClproJJoxadn
;;,- MCHC                      · drl.<                       Qldl           3o.36            30-36                   31-37                         3o.36               30-34
                                                                                                                                                                                         97. Clindamydn
is soot>Y                                  ~ <-1                 "          eo-n                35-75                      28-76                    111-45             25-65
                                                                                                                                                                                         98. Enrollolcacln                                             .
til Bond{sl,.                              L                     %           D-3                    D-3                        D-2                  11-2                D-4
                                                                                                                                                                                        99. Erylltromycln
11           L""""'s)                      <;;                   %          12-30               20-55                      19-69                   46-75               30-75
                                                                                                                                                                                         100. GentamJdn
•• ·~···                              A. ,,.                                  -                 --                              -                        -               -
<9           Eosfn(s)                     1          V           %          2·10            2·12                               0.7                  2-26                0.10
                                                                                                                                                                                        101.Kanamydn
                                                                                                                                                                                        102. Nilrofu<antoln
                                                                                                                                                                                                                                                                                  '
50           Mono(s)                  _                          %          3-10                    '""                        0.0                  z.7                11-10
51           Booo(o)                                         -...           -1)                  -CJ                           D-3                  D-2                 D-3             103.Pentillin

52           NRBC                 }         MOOWBC                           -                      -'.                        -           -                             -              1D4.Streptomycin
Sl                                                  Anslo                    Hypo                           -p,                          @> 11'\u:                     Poi!<            105. Tetracycline
                                                                                                                                                                                        106.Trimelh/SuUa
54                                                 eraanate                 Micro                            Matro                       T"llal                    -·
SsfiOiiC.                                                    %             0.0.1.5              0.1!-1.0                   O.Q.O.O        j       0.0.0.0          0.0.1.0              107. Triple Sulfa
56           PlolaletCounl                         xtD'Jmm"             ·1200-900           301HOO 11..- )100-800 1200-500                                                              108. Oxacillin
57           Coombs'                                         -              --                          -'                         -                 -                   -                                           _.· HISTOLOGY/OTHER
58           F.txin01Jtn                                 -ing/dl         11~00              tOIHOO                i       100-400        JIOO.SOO                        -
59           RBCPoraoite                                     '-              -                          -                          -                     -               -
60                           , Time                          se~            7·11                    9·13                       0·15                22·55               11-12
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             '                                               Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 35 of 66                                                                                                                                          Ex. 4-0317
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    Date oflllness:/t'J1Sf/9- Symptoms~~/<:




    . Diagnosed By:
     .Medication
                                  a· Jb}m ~f'/c05; £1kdet;-;~
                                                          Dosage
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      Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 36 of 66                                       Ex. 4-0318
                                                    Elkader
                                                   Veterinary
                                                     Clinic
                                                     24642 Hwy 13 N
         563-245-1633                              Elkader, Iowa 52043



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                                  Elkader Veterinary Clinic
                                              24642 Hwy 13
                                             Elkader, lA 52043
                                               536-245-1633


                                                                                              10/08/2014




Dear Pam,

     We examined "Casper" the white tiger today. First off, being able to examine closer, I can see the
eyes are normal. We were concerned before of maybe lens or cornea problems, but none seen. The
corneas are both clear and unscratched. When pupils open in shady part of the cover I could see both



     We wanted to look at the sore on the inside of the left front leg. Granulation tissue is filling the
area. No signs of infection an~ seen. That is because the cat licks the wound clean. It is not a neurotic
non-stop licking, but more on an as-needed bases the saliva there is good since it has natural antibiotic
effect by enzymes of the saliva and naturally high pH. We are going to treat systemically with
amoxicillin powder and we discussed how you would do that with ground meat, will treat for 7 days and
let me know how the leg is doing. We may treat longer.

        Thanks for calling. Go ahead and send a copy to USDA and we will have a copy here.




      Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 38 of 66                                    Ex. 4-0320
SPECIES               11a ~(
                WORMING. v
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FECAL EXAM                       PRODUCT          VACCINATIONS             IIISC. TREATIIENTS&INFO
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    Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 39 of 66                                                  . . "'.
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SPECIES                          L~c,r       (Ah\ ~rr-cl                     ppr(\   1-n-cn
 FECAl.. EXAM                WORMING      PRODUCT          VACCINAT'IONS           MISC. TREATMEKIS & INFO

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         Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 40 of 66                                      Ex. 4-0322
SPECIES Liof\                                 Cfh ~"!"\ \ i Clf\}                        boff\ 3-!S-{)5       ll<v.o 8
 FECAl EXAM             WORMING        PRODUCT                 -;ACCINA110NS              MISC. TREATMENTS & INFO
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SPECIES            L~ o '\                                      -:)or'\ lf.Jd    h. hoc"' 2oo ~
FECAL EXAM    WORMING      PRODUCT          VACCINATIONS       MISC. TREATMENTS & INFO

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    SPECIES                             5en d.\                                      cO...t;C> VfC,                     oo~          1-tQ-oCo
       FECAL EXAM                   WORMING        PRODUCT                           VACCINATIONS                  MISC. TREATMENTS & INFO

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                                   ID-!f-1"3       r'a. tt.. I'\            y   n,b1es fl-2-rii. ~ ...1-""' .... ~ 1lul1'
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                   VACCINATION RECORD

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          AGE
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                                                                                                              ImmNIZATION
f--
           ' WKS. ''\' ., D0l6J!ZllE1DDDD·'•'"
         .J2__              /\ f\ -". /,,
                            ~ ~,               :,..' '/                                          Many ful!ne diseases can rww be prevented through
                                                                                             vaccination. A vaccination schedule prepared by your
         ..:LWKs.~DDDDD~D[Z!OGlQ                                                             veterlnarlan can tbus ~tly contribute to good bealtb
                                                                                             and a longer life span or your cat. Below are the most
           ', ')    WKS.    \C>-~i)QISJ~IXJ~g!IZIOO (Q                                       important diseases for which vaccines are currently
                                                                                             avallable:
c         \ !.~     WKS.li::X!DDOODDl2JIZIDC/Io
          ~0 ~tJ~ODDDDDl2JDu~                                                                    Rabies, oneoftbeworld's~bliclzedandfeared
                                                                                             diseases. is almostalwsys mtal      es virus attacks tbe
             1 m ID-4 J$;JP\]f5!l[RJ[j(l[(]jg]0007                                           brain and central nervous system. and is~ fo
                                                                                             humans chiefly through tbe bite ofan infected animal. In
                   2 YRS.I~i;81[8lmJJKJDOo--<1""                                             1981-82, for tbe first time, more cats tban           'l:;r
                                                                                                                                                 were
                                                                                             reported to have rabies. This Situation has       many
                   aYRS._ODDODDODD                                                           autboritles to recommend rabies vaccination for all cats.
                4YRs.. _ODDODDDDD                                                                Feline :panieulropeDia (feline distemper) is among
                                                                                             the most widespread of all cat diseases. and is extremelY
              - sYRs. _000000000                                                             contagious. Characterized by fever. loss of appetite,
                                                                                             vomiting anddlsrrhes. ful!nepanleukopeniacauseshlgb
                sYRS. _OODOODDDO                                                             death loss, particularly among kittens.
                7YRs. _OODODDDDO                                                                 Feline viral 1'1111lmotmeheitis (li!"'ll!:) Is a highly
                11\'RS. _OODODOODD
                                                                                             contagiousresp~ratorydiseasecharactelizedbysneezing,
                                                                                             loss of appetite. fever, and eye lnflammation. As tbe
                sifRs. _._OODDDDDDO                                                          disease progresses, a discharge is notlceahle from botb
                                                                                             nose and eyes.
               tovRS. _ODDOOODDD
                   11YRS. _ooooooooo                                                             Feline callcl.viras (l'CVJ Is another serious feline
                                                                                             respliatolyinfection. OftenOCClll'lngstmultaneouslywttb
                                                                                             fellne vlral rhlnotracheltls. Signs Of inkction are similar
                   12vRS. _OODODDODO                                                         to FVR (rever. loss of appetite, nasal discharge). but
                   13YRS. _ooooooooo                                                         calicivlrus-infected cals may also have ulcers on tbe
                                                                                             tongue.
                   14vRs. _OODDODODD                                                            Feliloe pnwmoml:is, is caused by tbe organism
                   1svRs. _000000000                                                         Chlamydia psittru:i. Sl,!!ns of pneumonitis are similar to
                                                                                             tbose ofFVR and FCV'"(sneezing, rever, loss ofappetire,
                   1svRs.  _000000000                                                        nasal discharge, inflamed eyes).

                   11vRs. _000000000                                                             Feline leukemia Is a viral disease which can take
                                                                                             several forms. Some cats have transient infections with
                   1svRs. _000000000                                                         fuwill effi:cts. Othershavepersistentinfectionsvarylngin
                                                                                             seven"ty. some of which may be fatal overtime. Extensive
                   19YRs. _000000000                                                         sc!entlllc research has shown no relationship between
                                                                                             feline leukemia and human leuJremia_
                   2ov11s. _000000000
                                                                                                 FIP Is a complex disease of cats caused bY feline
                                                                                             Infectious nerttonltisvirus. Themostrommonlvdia!lnosed


                     Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 43 of 66                                                                    Ex. 4-0325
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       Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 44 of 66                 Ex. 4-0326
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       Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 45 of 66                        Ex. 4-0327
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                  Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 46 of 66                                                         Ex. 4-0328
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     Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 47 of 66                                                                 Ex. 4-0329
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        Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 48 of 66                                      Ex. 4-0330
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       Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 49 of 66                              Ex. 4-0331
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                 Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 50 of 66                                   Ex. 4-0332
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        Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 51 of 66                                                       Ex. 4-0333
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            Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 52 of 66                                      Ex. 4-0334
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   Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 54 of 66                                 Ex. 4-0336
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According to the Paperwork Reduction Act of 1995, an agency may not conduct or sponsor, and a person Is not required to respond to, a collectlorl of Information unless It displays a valid OMB control number. The valid OMB control numb1
for this information collection Is 0579-0036. The time required to complete this Information collection Is estimated to average 1 hOur per response, Including the time for reviewing instructions, searching existing data sources, gathering and
maintaining the data needed, and completing and reviewing the collection of information,


                UNITED STATES DEPARTMENT OF AGRICULTURE                                                                                                                            RECORD OF ANIMALS ON HAND
               ANIMAL AND PLANT HEALTH INSPECTION SERVICE                                                                                                                             (Other than Dogs and Cats)
1. USDA LICENSE NUMBER                     2. NAME AND ADDRESS OF DEALER




                                                                                            AGE-SEX                                                                     ARRIVAL AT PREMISES
CONTAINER
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                                 TATTOOSOR         .·            SPECIES                                                           DATE                                                        (Name and Address)
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APHIS Form 7019                                                                                                              INSPECTOR'S INITIALS
AUG 2011                                                                                                                                             .



                                            Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 56 of 66                                                                                                                   Ex. 4-0338
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1alntainlng the data needed, and completing and reviewing the collecUon of Information.                                                               -


            UNITED STATES DEPARTMENT OF AGRICULTURE                                                                                                                           RECORD OF ANIMAlS ON HAND
           ANIMAL AND PLANT HEALTH INSPECTION SERVICE                                                                                                                            (Other than Dogs and Cats)
I. USDA LICENSE NUMBER                    2. NAME AND ADDRESS OF DEALER

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                                                                                          AGE- SEX                                                                    ARRIVAL AT PREMISES
CONTAINER                       INDIVIDUAL
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APHIS Form 7019                                                                                                           INSPECTOR'S INITIALS
AUG 2011

                                              Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 57 of 66                                                                                                                         Ex. 4-0339
From:    Jessica Blome
Sent:    Monday, November 3, 2014 10:12 AM
To:      lthorson@akklaw.com
Cc:      Daniel Anderson; Jeff Pierce
Subject: Cricket Hollow Zoo
Attachments:     USDA Inspection Report 14-10-07.pdf

Good afternoon, Larry,

I wanted to forward USDAís latest inspection report for the zoo to
you. Note
the direct non-compliant item listed for Casper, and endangered white
tiger
acquired by the Sellners last July. Can you confirm that Casper has
received
required and necessary medical treatment since this inspection was
conducted on October 7?

Jessica L. Blome | Staff Attorney
Animal Legal Defense Fund | aldf.org
C 641.431.0478 | F 707.795.7280
* jblome@aldf.org

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                                  Elkader Veterinary Clinic
                                              24642 Hwy 13
                                             Elkader, lA 52043
                                               536-245-1633


                                                                                              10/08/2014




Dear Pam,

     We examined "Casper" the white tiger today. First off, being able to examine closer, I can see the
eyes are normal. We were concerned before of maybe lens or cornea problems, but none seen. The
corneas are both clear and unscratched. When pupils open in shady part of the cover I could see both



     We wanted to look at the sore on the inside of the left front leg. Granulation tissue is filling the
area. No signs of infection an~ seen. That is because the cat licks the wound clean. It is not a neurotic
non-stop licking, but more on an as-needed bases the saliva there is good since it has natural antibiotic
effect by enzymes of the saliva and naturally high pH. We are going to treat systemically with
amoxicillin powder and we discussed how you would do that with ground meat, will treat for 7 days and
let me know how the leg is doing. We may treat longer.

        Thanks for calling. Go ahead and send a copy to USDA and we will have a copy here.




      Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 59 of 66                                    Ex. 4-0341
From:    Jessica Blome
Sent:    Tuesday, November 18, 2014 12:30 PM
To:      'Theresa Trenary'; lthorson@akklaw.com
Cc:      Daniel Anderson; Jeff Pierce
Subject: RE: Kuehl et al v Sellner

Larry,

Thank you for your letter. We are planning on producing everything
that we
have in our discovery responses to you. This will include material
otherwise
required as initial disclosures. Unfortunately, there are so many
photos and
reports that we may have to send you electronic versions of some of
the
records to be efficient. Do you have a preferred method for receipt,
e.g. CDs,
USB drives, file transfer website, etc.?

We are currently on track to turn everything over to you by December
8.

You may send your initial disclosures to us in paper form or
electronic form,
whichever you prefer. Do we need to set up a call to discuss?

We will be promulgating discovery to your clients in early December
and
were also hoping to set aside some time for depositions. Would you
provide
availability dates for January, February, and March for Tom Sellner,
Pam
Sellner, and their attending veterinarian? We will likely appear in
person for
those depositions and may take additional depositions of some of your
other
witnesses over the telephone, depending on what we learn from Mr. and
Mrs.
Sellner. We are happy to come to your office or to our local
attorney, Dan
Andersonís, office for the depositions. Hopefully the weather
cooperates.

Finally, I emailed you a couple of weeks ago about the current welfare
of
Casper, the white tiger. USDA ordered your clients to seek medical
care for
Casper in October, and I was hoping you might give a status update.




    Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 60 of 66   Ex. 4-0342
Sincerely,

Jessica

Jessica L. Blome | Staff Attorney
Animal Legal Defense Fund | aldf.org
C 641.431.0478 | F 707.795.7280
* jblome@aldf.org

Connect with ALDF on:
Facebook | Twitter | YouTube | Causes

From: Theresa Trenary [mailto:TTrenary@akklaw.com]
Sent: Thursday, November 13, 2014 1:51 PM
To: Jessica Blome
Subject: Kuehl et al v Sellner

Please see attached letter from Larry Thorson.    Thank you.

Theresa Trenary for
Larry J. Thorson
Ackley, Kopecky & Kingery, L.L.P.
4056 Glass Road NE
Cedar Rapids, IA 52402
Phone: (319) 393-9090
Fax: (319) 393-9012


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sending the message and destroy your copy.




    Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 61 of 66   Ex. 4-0343
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     Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 62 of 66                                                                 Ex. 4-0344
According to the Paperwork Reduction Act of 1995, an agency may not conduct or sponsor, and a person Is not required to respond to, a collection of Information unless It displays a valid OMB control number. ihe valid OMB control r
for this Information collection Is 0579..0036. The time required to complete this Information collection Is estimated to average 1 hour per response, including the time fer reviewing Instructions, searching existing data sources, gathering
maintaining the data needed, and completing and reviewing the collection of Information.

              UNITED STATES DEPARTMENT OF AGRICULTURE                                                                                                                        RECORD OF ANIMALS ON HAND
             ANIMAL AND PLANT HEALTH INSPECTION SERVICE                                                                                                                         (Other than Dogs and Cats)
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                                                   Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 63 of 66                                                                                                               Ex. 4-0345
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                                      Case 6:14-cv-02034-JSS Document 20-10 Filed 06/01/15 Page 66 of 66                                                                                                                           Ex. 4-0348
 AP                                                          FORM-1&.20. which is now obsolete, and
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